BUCHANAN INGERSOLL & ROONEY PC
By: Michael J. Engle, Esquire
       Attorney ID: 85576
Two Liberty Place
50 S. 16th Street, Suite 3200
Philadelphia, PA 19102                                       ATTORNEY FOR DEFENDANT
_______________________________

                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :
                                               :      DOCKET NO. 20-cr-231
                       vs.                     :
                                               :
JOSEPH LAFORTE                                 :
                                               :


                              ENTRY OF APPEARANCE


TO THE CLERK OF THE U.S. DISTRICT COURT:

       Kindly enter my appearance on behalf of Defendant, JOSEPH LAFORTE, in the above-

referenced matter.

                                        RESPECTFULLY SUBMITTED:

                                        /s/ Michael J. Engle
                                        Michael J. Engle (Attorney ID 85576)
                                        BUCHANAN INGERSOLL & ROONEY PC
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